




	No. 3--97--0285

_________________________________________________________________



	IN THE



	APPELLATE COURT OF ILLINOIS



	THIRD DISTRICT



	A.D., 1997



JOHN S. PHALEN, d/b/a 			)	Appeal from the Circuit Court

BY-RITE FURNITURE,				)	of the 12th Judicial Circuit,

	)	Will County, Illinois,

Plaintiff-Appellant,		)	

	)

v.						)	No. 97--SC--1863

	)	

ERIC GROETEKE, &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;)	Honorable

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;)	Martin Rudman,

Defendant-Appellee.			)	Judge, Presiding.

_________________________________________________________________



JUSTICE SLATER delivered the opinion of the court:

_________________________________________________________________



The plaintiff, John Phalen, d/b/a By-Rite Furniture, filed a small claims action against the defendant, Eric Groeteke. &nbsp;The circuit court of Will County found that it did not have person­al jurisdiction over the defendant because the plaintiff had failed to comply with Will County local rule 10.01(a)(2). &nbsp;12th Judicial Cir. Ct. R. 10.01 (eff. July 1, 1986). &nbsp;The plaintiff appeals, and we reverse and remand. &nbsp;

The record indicates that this case was filed in Will County on February&nbsp;6, 1997. &nbsp;The court issued a summons which had a return date of February&nbsp;19, 1997. &nbsp;The defendant apparently did not receive the sum­mons, and the trial court issued an alias summons on Febru­ary&nbsp;19, 1997. &nbsp;The alias summons had a return date of March&nbsp;19, 1997. &nbsp;On that day, the plaintiff appeared in court and requested that the case be continued until March&nbsp;26, 1997, for proof of service. &nbsp;The continuance was granted. &nbsp;On March&nbsp;26, 1997, the defendant did not appear in court. &nbsp;The plain­tiff pre­sent­ed an affida­vit stating that the summons was served on the defen­dant on March&nbsp;16, 1997, three days before the alias return date of March&nbsp;19, 1997.

The trial court indicated that the service of summons did not comply with local court rule 10.01(a)(2) and therefore the defen­dant had not been properly served. &nbsp;Rule 10.01(a)(2) requires that in small claims cases, a summons may not be served later than five days before the date of appearance. &nbsp;The plaintiff argued that this rule conflicted with Supreme Court Rule 101(b) and was therefore invalid. &nbsp;Official Reports Advance Sheet No. 5 (February 28, 1996), R. 101(b), effective February 1, 1996. &nbsp;Supreme Court Rule 101(b) states that in cases for money damages of $50,000 or less, the summons may not be served later than three days before the day for appear­ance. &nbsp;134 Ill. 2d R. 101(b). &nbsp;The trial court found that the rules were not in conflict. &nbsp;There­fore, it held that it did not have juris­dic­tion over the defen­dant because he had not been properly served.

On appeal, the plaintiff argues that the trial court erred when it held that no conflict existed between local rule 10.01(a)(2) and Supreme Court Rule 101(b). &nbsp;&nbsp;&nbsp;

Illinois Supreme Court Rule 21(a) vests circuit courts with the power to adopt local rules governing civil and criminal cases as long as: &nbsp;(1) they do not conflict with supreme court rules or statutes; and (2) so far as practical, they are uniform throughout the State. &nbsp;134 Ill. 2d R. 21(a). &nbsp;A review­ing court will not inter­fere with the trial court's exer­cise of its authority under local rules in the absence of facts consti­tuting an abuse of discre­tion. &nbsp;
Salazar v. Wiley Sanders Trucking Co
.
, 216 Ill. App. 3d 863, 576 N.E.2d 552 (1991). 

Under Illinois Supreme Court Rule 101(b), a plaintiff in a case involving less than $50,000 in damages has timely served a defen­dant if the summons was served at least three days before the date of appearance. &nbsp;Official Reports Advance Sheet No. 5 (February 28, 1996), R. 101(b), effective February 1, 1996. &nbsp;Howev­er, in Will County, service on the third day before the date of the appear­ance is invalid. &nbsp;12 Judicial Cir. Ct. R. 10.01(a)(2) (eff. Ju­ly&nbsp;1, 1986). &nbsp;Will County's addi­tion­al two-day re­quire­ment impermissibly imposes a greater burden on plaintiffs than that re­quired by Supreme Court Rule 101. &nbsp;
People ex rel. Brazen v. Finley
, 119 Ill. 2d 485, 519 N.E.2d 898 (1988). &nbsp;In addi­tion, the Will County rule promotes inconsistency in the State con­cerning the time frame for proper service, which also viola­tes Supreme Court Rule 21(a). &nbsp;134 Ill. 2d R. 21(a). &nbsp;For these reasons, we find that Will County local rule 10.01(a)(2) is invalid. &nbsp;Therefore, we find that the defendant was properly served and the trial court abused its discretion in finding that it did not have personal jurisdic­tion over him. &nbsp;Accordingly, the judgment of the circuit court of Will County is reversed and the cause is remanded for further pro­ceed­ings.		

Reversed and remanded. &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

LYTTON, P.J., and BRESLIN, J., concur.


